MARIE J. J. FLEITMANN AND THOMAS CRIMMINS, EXECUTORS OF THE ESTATE OF HERMAN C. FLEITMANN, DECEASED, PETITIONERS, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Fleitmann v. CommissionerDocket No. 17121.United States Board of Tax Appeals22 B.T.A. 1231; 1931 BTA LEXIS 1984; April 20, 1931, Promulgated *1984  Waivers executed by the decedent, to which the Commissioner's name was affixed by employees at the direction of persons authorized by the Commissioner to sign his name, are valid and extend the statutory period.  Richard E. Dwight, Esq., F. S. Winston, Esq., W. N. Wood, Esq., and Howe P. Cochran, Esq., for the petitioners.  Bruce A. Low, Esq., and L. H. Rushbrook, Esq., for the respondent.  ARUNDELL*1231  The respondent made a jeopardy assessment of a deficiency in income tax in the amount of $70,608.70 for the calendar year 1918.  Upon motion of counsel for petitioners the hearing in the first instance was limited to the question of whether collection is barred by the statute of limitations.  FINDINGS OF FACT.  Herman C. Fleitmann filed his income tax return for the calendar year 1918 on March 15, 1919.  On February 9, 1924, Fleitmann executed a waiver extending for a period of one year from that date the period for assessment and collection of 1918 taxes.  Commissioner Blair's name was signed to this waiver on February 13, 1924, by Albert Lewis, who was then head of the personal audit division of the income tax unit and who had*1985  been authorized by Blair to sign his name to waivers.  On February 21, 1924, Fleitmann executed a waiver extending the time for assessment and collection for one year after the expiration of the statutory period of limitation or such period as extended by any waivers already on file.  Commissioner Blair's name was affixed to this waiver on February 8, 1926.  On December 20, 1924, respondent wrote to Fleitmann requesting a further waiver for 1918.  In response to this request Fleitmann on December 24, 1924, executed a waiver extending the time for assessment and collection for one year after the expiration of the statutory period or such period as extended by any waivers already on file.  Commissioner Blair's name was affixed to this waiver on February 8, 1926, by Albert Lewis.  *1232  On February 10, 1925, a jeopardy assessment of income tax for the year 1918 in the amount of $70,608.70 was made against Fleitmann and he was notified thereof by letter dated February 6, 1925.  His counsel protested to the Commissioner, stating among other things that "waivers were duly filed with the Department in December, 1924 * * *." On March 3, 1925, Commissioner Blair wrote to the Collector*1986  at New York, referring to the assessment made and stating in part that "Waivers have now been received * * *" and that a certificate of overassessment would be prepared.  Subsequently a certificate of overassessment was prepared and the entire assessment of $70,608.70 was abated.  In the certificate sent to Fleitmann it was stated that "Since you have filed a waiver for the year 1918 the tax of $70,608.70 has been overassessed." On March 3, 1926, a jeopardy assessment of $70,608.70, income and profits taxes for 1918, was entered against Fleitmann and he was notified thereof by letter dated April 20, 1926.  The petition for redetermination is based upon that notice.  On November 5, 1926, respondent wrote to Fleitmann requesting waivers for the years 1918 to 1921, inclusive.  Fleitmann, on November 8, 1926, executed a waiver for the years 1918 to 1921 extending the time to December 31, 1927, except that if a notice of deficiency was sent before that date then the time was to be extended by the time provided by statute.  Commissioner Blair's name was affixed to this waiver by the secretary to H. B. Robinson at his direction.  Robinson was head of a division in the income tax unit*1987  and held a written authorization to sign the Commissioner's name to waivers.  On September 27, 1929, Fleitmann executed a waiver extending until December 31, 1930, the time for collection of the assessment of $70,608.70 made in 1926, above referred to.  This waiver bears the name of Commissioner Lucas in typewriting followed by that of Collector Anderson written with ink.  Anderson's name was signed at his direction by a deputy collector.  OPINION.  ARUNDELL: The argument of petitioners that collection is barred is based on their contention that the assessment is invalid because the limitation period had run when the assessment was made on March 13, 1926.  The question of the validity of the waivers filed by reason of their being signed for the respondent by persons other than the respondent himself is disposed of by our opinion in Frederick T. Fleitmann, decided this day.  The return in this case having been filed on March 15, 1919, the statute of limitations, unless waived, would have *1233  barred assessment after March 15, 1924.  The following waivers were executed and filed: KindDate of waiverExtensionAssessment and collectionFeb. 9, 1924To Feb. 9, 1925.DoFeb. 21, 1924To Feb. 9, 1926.DoDec. 24, 1924To Feb. 9, 1927.AssessmentNov. 8, 1926To Dec. 31, 1927.CollectionSept. 27, 1929To Dec. 31, 1930.*1988  Petitioners concede that the waiver of February 9, 1924, was a good waiver and extended the time to February 9, 1925.  There is some contention as to the period of extension under the next waiver - that of February 21, 1924, petitioners claiming it was intended to run concurrently with that of February 9, and respondent contending that it extended the period to February 9, 1926.  We think the respondent's view is correct.  The second waiver specifically provides that: This waiver is in effect from the date it is signed by the taxpayer and will remain in effect for a period of one year after the expiration of the statutory period of limitation, or the statutory period of limitation as extended by any waivers already on file with the Bureau * * *.  As set out in the findings of fact, the Commissioner's name had been signed to the first waiver on February 13, 1924, and it was on file in the Bureau when the second was executed by Fleitmann.  Accordingly, upon its face, the effect of the second waiver operated to extend the period for assessment and collection to February 9, 1926.  It was put in evidence by the respondent in support of his claim that the assessment was timely.  Petitioners*1989  introduced no evidence whatever to show that the parties in executing the waiver intended anything other than expressed intent of the plain words of the waiver.  It was signed by the respondent on February 8, 1926, which was before the expiration date.  The next waiver in the series, dated December 24, 1924, provides that it "will remain in effect for a period of one year after the expiration of * * * the statutory period of limitation as extended by section 277(b) of the Revenue Act of 1924, or by any waivers already on file with the Bureau." This extended the period to February 9, 1927, and before that date the assessment was made and notice of deficiency was sent.  Consequently, the assessment was timely and collection is not barred.  The waivers subsequently given require no discussion.  The proceeding will be restored to the general calendar for hearing on the merits in due course.